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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW MEXICO


THE UNITED STATES OF AMERICA,

                Plaintiff,

         vs.                                                No. CR 05-1849 JH

DANA JARVIS, et al.,

                Defendants.


                 AFFIDAVIT OF YVONNE BECKMAN, CPA
                             IN SUPPORT OF
          DEFENDANTS= JOINT MOTION TO DISMISS COUNT III, OR,
                          IN THE ALTERNATIVE,
            MOTION FOR A BILL OF PARTICULARS PURSUANT TO
                  FED. R. CRIM. P. 7(c)(1), 7(f) & 12(b)(3)(B)

STATE OF NEW MEXICO  )
                     ) ss.
COUNTY OF BERNALILLO )


         I, Yvonne Beckman, do swear and affirm the following:


1.       I am a New Mexico licensed Certified Public Accountant, license number 4036, firm

permit number 09895.

2.       I received my Bachelor degree in Finance and Accounting from the University of

New Mexico, with attainment of Certified Public Accountant accreditation in November of

1993.    My public accounting practice since that date includes professional work with an

emphasis in taxation, forensic accounting, attestation and litigation consulting and expert

witness services. Litigation related experience encompasses analysis and testimony in cases

involving criminal fraud and embezzlement issues, business and property valuation, real

property and construction matters, and domestic relations. Experience has been derived by


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and through casework and ongoing educational coursework in forensics, fraud, and

litigation. I am currently undertaking coursework in obtaining further designations as a

Certified Fraud Examiner and accreditation in valuations and forensics.

3.       A forensic financial investigation encompasses auditing techniques and the

development of the scope of the investigation with respect to materiality and risk and

detection of significant events in relation to the purpose of the investigation. Based upon a

review of the Superceding Indictment in this case, the United States’ purpose in any financial

investigations undertaken of the Defendants in the present case must have been to

investigate money laundering crimes and to determine any nexus between proceeds from

alleged illegal activities and assets for determining the value of the forfeiture allegation. The

higher the level of risk and materiality equates to the higher need for accuracy and

confidence in the resultant data and the subsequent need for enlarging the scope of the

audit. This is accomplished through testing and application of analytical procedures in

conjunction with the raw data from the investigation.         Procedurally, as the quantity of

documentation obtained and assessed increases, the amount of time involved in the

investigation increases accordingly.

4.       The scope of evidence reviewed in an investigation would include, but is not limited

to, assessment and investigation into accounting records such as original books of entry,

checks, bank records, electronic means of record retention and compilation and would

include integrated systems which share data and support all aspects of the entity's financial

reporting, operations and compliance objectives. Evidence obtained from third parties or

outside sources other than the parties directly connected to either the business or personal

affairs of the defendant(s) would also be obtained such as vendor inquiries and

documentation, and reports filed with state and federal taxation agencies.



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5.       Audit sampling may be used initially to isolate significant events or trends, providing

an initial snapshot of the investigation target’s financial portrait. However, the sampling will

be enlarged at a later point to assist in achieving an appropriate measure of confidence in the

data as representative across time, minimizing risk, and ensuring the effectiveness of the

audit scope as accurate. Documentation and evidence facilitated in this sampling would

include, but not be limited to, income tax returns, state sales tax returns, records (statements)

from financial institutions, deposit books, canceled checks, inventory purchase invoices,

payroll records, time cards, register receipts, accounts payable invoices and payments,

physical inventory count records, electronic media, depreciation and asset reports, title and

mortgage settlement statements, accountant’s work papers, leases, agreements and contracts

with subcontractors and vendors, notes payable and mortgage information, financial

statements and general ledgers. This documentation would not only be obtained from the

entities or individuals themselves, but as denoted previously, from third party information,

which would increase the quantity and sufficiency of the assessment base of the

investigation.

6.       To adequately define the scope of the investigation in this case, examiners would

have investigated on a sample basis initially, and then broadened the scope in an effort to

include any incident or occurrence of any significant event of alleged wrongdoing. In doing

so, the investigation would have had to include an enormous amount of the aforementioned

data and source documents, let alone procedures and time involved to adequately assess the

broad scope of time, across fifteen years, that was then promulgated in the second

indictment. On an approximate basis, for one lone defendant, a thorough investigation

would have analyzed, on the average, one hundred transactions per week, fifty two weeks

per year, over fifteen years, equating to 78,000 transactions for each defendant. To include



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